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From:                "Chesley, Rick"
To:                  Joel I. Sher
Subject:             Let"s Discuss This As Well
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                     CHI - Global Settlement Term Sheet.docx




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                                                                                                            DEBTORS EXHIBIT


                                                                                                                     6
                                                                                                                 Exhibit #
                                                                                                                                 exhibitsticker.com




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                                                                                                                 01/19/2021 LS
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                                                             DLA Draft May 17, 2020
                                                                  CONFIDENTIAL
                                   FOR DISCUSSION AND SETTLEMENT PURPOSES ONLY
                                                              SUBJECT TO FRE 408

                                  In re Creative Hairdressers Inc.
                                      Settlement Term Sheet

   This term sheet is entered into between the Debtors, Official Committee of Unsecured Creditors
   (the “Committee”) and HC Salon Holdings, Inc. as the DIP Lender and Stalking Horse Bidder
   (“HC Salon”):

Committee Objections and          This settlement is in compromise of the Committee’s (i) right to
Challenge Rights                  assert object to the final entry of the order approving the Motion
                                  to Approve Debtor-in-Possession financing (the “DIP Order”)
                                  and any “Challenge” under the DIP order relating to the
                                  Prepetition Lenders or the DIP Lender, (ii) right to challenge the
                                  right of HC Salon to credit bid the full amount of its secured debt
                                  pursuant to section 363(k) of the Bankruptcy Code, and
                                  (iii) right to object to the sale of the Debtors’ assets to HC Salon.
                                  Notwithstanding the foregoing, nothing in this Term Sheet in
                                  any limits the fiduciary obligation of the Committee to approve
                                  a higher and otherwise better bid for the Debtors’ assets.

503(b)(9) Claims                   Buyer will assume liability for section 503(b)(9) priority
                                   claims, up to a cap of $25,000; provided, that Buyer reserves
                                   rights to negotiate modifications to 503(b)(9) amounts with
                                   claimants.

Wind-Down Budget                  HC Salon will provide a wind-down budget of $175,000, which
                                  amount the Committee, in consultation with the Debtors, shall
                                  utilize in furtherance of their fiduciary obligations.

Visa/ MasterCard Settlement       In the event that the proceeds of the Visa/MasterCard settlement
                                  are not received by the Debtors as of the closing of the sale to
                                  HC Salon, HC Salon shall increase its purchase price by cash in
                                  the amount of $735,000, and shall acquire all rights to the
                                  proceeds of the Visa/MasterCard settlement.
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Avoidance Actions               HC Salon and the Committee shall negotiate in good faith on
                                those Avoidance Actions that are being acquired by HC Salon
                                pursuant to the Asset Purchase Agreement, with the
                                understanding that HC Salon shall only acquire those Avoidance
                                Actions that are reasonably related to those vendors, suppliers
                                and other creditors that it anticipates doing business with
                                following the closing of the sale. The parties shall agree upon
                                the allocation of Avoidance Actions no later than May 22, 2020.
                                It is agreed and understood that HC Salon will also acquire all
                                Avoidance Actions against any landlord of the Debtors. It is
                                further agreed that HC Salon shall covenant not to bring any
                                Avoidance Action that it acquires pursuant to the Asset Purchase
                                Agreement.

Landlord Matters                HC Salon shall provide $200,000 to satisfy any “stub rent”
                                claims that are asserted as administrative claims under section
                                503(b) of the Bankruptcy Code. To the extent that such claims
                                are not allowed as administrative claims, this amount shall be
                                added to the Wind Down Budget described above.
                                In addition, HC Salon will covenant not to bring any avoidance
                                action against any landlord.
                                This Term Sheet is not subject to the approval of any landlord to
                                the terms of this paragraph.

Deficiency Claims               HC Salon agrees that it waives any unsecured claims.

DIP Budget                      HC Salon agrees that the DIP budget shall be increased by
                                $50,000 for Committee professional fees.

APA Modifications               The terms of this agreement shall be set forth in and Amended
                                Asset Purchase Agreement, which shall be filed with the Court
                                within one (1) business day of the agreement of the parties to
                                this Term Sheet.



   ADD SIGNATURE BLOCKS
